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                  IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAI`I



 WENDELL TATSUMI KOGA,                    CIVIL NO. 11-00123 DKW-BMK
 individually, as attorney in fact for
 Ichiyo Eko Koga, and as trustee of the
 William Tsugio Koga and Ichiyo Eko       FINDINGS OF FACT AND
 Koga Revocable Living Trust, dated       CONCLUSIONS OF LAW
 February 4, 1991,                        GRANTING EASTERN SAVINGS
                                          BANK’S MOTION FOR
             Plaintiff,                   SUMMARY JUDGMENT
                                          AGAINST SONIA M. EVANS
       vs.

 EASTERN SAVINGS BANK, FSB,


           Defendant.
 _______________________________
 EASTERN SAVINGS BANK, FSB,

             Third-Party
             Plaintiff,

       vs.

 WILLIAM J. VROOM; ALII
 FINANCIAL CORPORATION;
 PRIORITY ONE DEBT RELIEF
 SERVICES, LLC; JANICE M. K.
 GANITANO; and SONIA M. EVANS,

             Third-Party
             Defendants.
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     FINDINGS OF FACT AND CONCLUSIONS OF LAW GRANTING
   EASTERN SAVINGS BANK’S MOTION FOR SUMMARY JUDGMENT
                   AGAINST SONIA M. EVANS

             Before the Court is Defendant and Third-Party Plaintiff Eastern

 Savings Bank, FSB’s motion for summary judgment against Sonia M. Evans.

 Evans did not oppose the motion. After careful consideration of the supporting

 memoranda, the accompanying documentation, and the relevant legal authority, the

 motion is hereby GRANTED.

                                 FINDINGS OF FACT

             1.      This Court has supplemental jurisdiction over these claims

 under 28 U.S.C. § 1367 based on the underlying complaint which confers

 jurisdiction pursuant to 15 U.S.C. §§ 1640(e) and 1692k, and 28 U.S.C. §§ 1331,

 1332, and 1337. Venue is proper in this District under 28 U.S.C. § 1391(a) and (c).

             2.      Eastern filed its Third-Party Complaint on August 14, 2012.

             3.      Eastern filed its First Amended Third-Party Complaint on June

 4, 2013 against, among others, Third-Party Defendant Sonia M. Evans (“Ms. Evans”)

 which alleged, among other things, fraud and misrepresentation.

             4.      On July 20, 2013, Ms. Evans served on Eastern her Answer to

 Eastern’s First Amended Third-Party Complaint (“Answer”).

             5.      Ms. Evans did not file her Answer with the Court.




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              6.     On January 30, 2014, Eastern filed its Motion for Summary

 Judgment against Ms. Evans.

              7.     This is an action based on an underlying $275,000 loan

 (“Loan”) made by Eastern on March 6, 2008 to the William Tsugio Koga and Ichiyo

 Eko Koga Revocable Living Trust, dated February 4, 1991, a Hawaii Trust

 (hereinafter “Trust”).

              8.     The Loan was evidenced by a Promissory Note signed by Mrs.

 Ichiyo Eko Koga (“Mrs. Koga”) as Trustee of the Trust, in the principal amount of

 $275,000.

              9.     The Loan was secured by a Mortgage, Assignment of Rents and

 Security Agreement, signed by Mrs. Koga as Trustee of the Trust (“Mortgage”).

              10.    At the time the Loan was made, Mrs. Koga or Janice M.K.

 Ganitano were the trustees of the Trust.

              11.    Ms. Ganitano is the daughter of Mrs. Koga and a former co-

 worker and friend of Ms. Evans.

              12.    On December 27, 2013, the United States of America filed an

 Information against Ms. Evans, charging her with the felony of mortgage fraud in

 violation of 18 U.S.C. § 1014, for defrauding Eastern with respect to the Loan.

 United States of America v. Evans, CR No. 13-01111 LEK (D. Haw. December 27,

 2013) (“Criminal Case”).


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              13.     On January 13, 2014, Ms. Evans entered a plea of guilty to the

 Information in the Criminal Case. At the hearing, Ms. Evans admitted:

                     a.           That she made material false statements for the purpose
                                  of inducing Eastern to extend the Loan in order to help
                                  her friend “Janice,” and

                     b.           That she completed a rental agreement, knowing that the
                                  information was incorrect and would be submitted to
                                  Eastern in support of the Loan.

              14.    Ms. Evans admitted in her Answer to making the

 following false representations of material facts to Eastern:

                      a.          Regarding the Koga Memorandum, dated February 15,
                                  2008:

                             i.         The Loan was to provide crucial financial
                                        assistance to Ms. Ganitano;

                           ii.          Mrs. Koga desired to downsize to a smaller home;

                           iii.         The property which was to be security for the loan,
                                        94-271 Hanawai Circle, Waipahu, HI 96797
                                        (“Property”), was receiving rental income of $2,000
                                        per month; and

                           iv.          Ms. Ganitano’s intention was to place the Property
                                        on the market for sale.

                      b.          Regarding the Ganitano Memorandum, dated March 3,
                                  2008:

                             i.         Mrs. Koga and Ms. Ganitano desired to downsize
                                        their residence;

                           ii.          That the loan would be used to renovate the Property
                                        in preparation for its sale;
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                       iii.         That the Property was being rented as of March 3,
                                    2008; and

                       iv.          That the Property was receiving rental income of
                                    $2,000 per month.

                  c.          Regarding the Rental Agreement, signed December 15,
                              2007:

                         i.         That the signature on the Rental Agreement
                                    belonged to Dorothy Evans, and

                       ii.          That Dorothy Evans was leasing the Property for
                                    $2,000 per month.

                  d.          Regarding the Tenant Estoppel Certificate, dated
                              February 15, 2008:

                         i.         That the signature on the Rental Agreement
                                    belonged to Dorothy Evans, and

                       ii.          That Dorothy Evans was leasing the Property for
                                    $2,000 per month.

                  e.          That the Property was being leased by a “Dorothy Evans”
                              for $2,000 per month at the time Sonia Evans transmitted
                              the Tenant Estoppel Certificate on February 15, 2008.

                  f.          That the Property was being leased for $2,000 by Dorothy
                              Evans at the time Sonia Evans transmitted the Rental
                              Agreement on February 11, 2008 that was purportedly
                              signed by Mrs. Koga and Ms. Evans.

                  g.          That Dorothy Evans’ genuine signature appears on the
                              Rental Agreement and Tenant Estoppel Certificate.




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              15.     In her deposition testimony, Ms. Evans admitted:

                     a.     That the Rental Agreement and Tenant Estoppel
                            Certificate did not contain her mother Dorothy Evans’
                            genuine signature but rather her mother’s forged
                            signature, as signed by herself, Sonia Evans;

                     b.     That she faxed the Tenant Estoppel Certificate; and

                     c.     That she drafted the Koga Memorandum and Ganitano
                            Memorandum.

              16.    At Ms. Evans’ initial appearance in the Criminal Case, she

 admitted that “[i]n an effort to help my friend, I completed a rental agreement,

 knowing that information was incorrect.”

              17.    Ms. Evans admitted the following allegation contained in the

 Amended Third-Party Complaint:

              Upon information and belief, based on the allegations in the
              Complaint and testimony from Ms. Ganitano’s Deposition,
              the Property was not an investment property but Mrs.
              Koga’s residence, the Property was not being rented to a
              “Dorothy Evans” for $2,000.00 per month, and Ms.
              Ganitano and Mrs. Koga had no intention of downsizing.

              18.     The evidence establishes that the Property was not rented to

 Dorothy Evans.

              19.     Ms. Evans’ Answer, deposition testimony, and guilty plea

 establish that she knew the foregoing representations were false or were made

 without knowing their truth or falsity.



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              20.     Ms. Evans knew her mother Dorothy Evans did not sign the

 Rental Agreement or Tenant Estoppel Agreement since Ms. Evans admitted to

 forging her mother’s signature on both documents.

              21.     As to the Koga Memorandum and Ganitano Memorandum, Ms.

 Evans drafted these documents without knowledge as to their truth or falsity.

              22.     Ms. Evans knew that Eastern would rely on her false

 representations.

              23.     Ms. Evans knew that all of the documents she was preparing

 were to be submitted in order to induce Eastern to extend the Loan to the Trust.

              24.     Ms. Evans admitted the following allegation contained in

 Eastern’s First Amended Third-Party Complaint:

              Ms. Evans knew the submission of the foregoing
              referenced documents were for the purpose of Third-Party
              Plaintiff ESB making a loan to Mrs. Koga and Ms.
              Ganitano.

              25.     At Ms. Evans’ initial appearance in the Criminal Case, she

 admitted knowing that the Rental Agreement was going to be submitted in support of

 the Loan:

              The Court: And that as part of the documents that was
                         being submitted in support of the loan to
                         refinance the mortgage, you understood that
                         this false rental agreement was going to be
                         included?

              The Defendant: Yes, Ma’am.

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              26.    Ms. Evans testified that she knew the Rental Agreement and

 Tenant Estoppel Certificate were being submitted to Eastern in support of the Loan.

              27.    Ms. Evans possessed the fraudulent intent to deceive Eastern.

              28.    Ms. Evans intended to deceive Eastern when she made the

 representations above.

              29.    Ms. Evans’ representations were willful.

              30.    Ms. Evans’ guilty plea alone is sufficient to establish her

 fraudulent intent to deceive Eastern. See Santa Barbara Capital Mgmt. v. Neilson (In

 re Slatkin), 525 F.3d 805, 812–814 (9th Cir. 2008).

              31.    Notwithstanding the guilty plea, Ms. Evans’ admissions and

 testimony discussed above also establish her intent to defraud Eastern, with the goal

 of helping her friend, Ms. Ganitano.

              32.    For drafting and preparing documents containing fraudulent

 representations relied upon by Eastern, Ms. Evans personally received $3,000.

              33.    The Court takes judicial notice of Ms. Evans’ Information and

 “Plea of Guilty to the Felony Information” (mortgage fraud under 18 USC § 1014)

 before the Honorable Leslie E. Kobayashi in United States v. Evans, CR No. 13-

 01111 LEK (D. Haw.) as additional evidence supporting Ms. Evans’ fraud against

 Eastern.



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                 34.     The Court takes judicial notice of Ms. Ganitano’s Information

 and “Plea of Guilty to the Felony Information” (mortgage fraud under 18 USC

 § 1014) before the Honorable Leslie E. Kobayashi in United States v.Ganitano, CR

 No. 13-01015 LEK (D. Haw.).

                 35.     Eastern detrimentally relied upon the Koga Memorandum,

 Ganitano Memorandum, Rental Agreement, and Tenant Estoppel Agreement when

 it decided to loan the Trust $275,000. Eastern’s reliance was justifiable.

                 36.    Eastern relied upon the information that the Property was being

 rented to a Dorothy Evans for $2,000 and therefore, that Mrs. Koga was not residing

 at the Property.

                 37.     Had Eastern known that the Property was not being rented and

 that the Property was not generating income, Eastern would not have made the Loan

 to the Trust.

                 38.    As a result of Ms. Evans' fraudulent misrepresentations, Eastern

 suffered substantial damages.

                 39.     Based on the Loan documents, Eastern is owed $634,991.17 on

 the Loan, as of April 1, 2014, as follows.

                               CHARGE                      AMOUNT
                    Principal Balance                      $266,814.65
                    Interest                               $181,278.89
                    Late Charge(s)                              $122.40

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                       Add-Negative Escrow                                $4,345.42
                       Interest-Neg Escrow                                $6,841.91
                       Subtotal Due as of 4/01/14:                     $459,403.27
                       Attorneys’ Fees/Costs                          $175,587.901
                       Total                                           $634,991.17


                    40.      The per diem interest on the Subtotal due after April 1, 2014 is

  $180.77.2

                    41.      As a result of Ms. Evans’ fraudulent misrepresentations, Eastern

  incurred substantial attorneys’ fees and costs to defend itself and to bring third-party

  claims in this action.

                    42.      Based on the foregoing undisputed facts, Eastern is entitled to

  summary judgment against Third-Party Defendant Sonia M. Evans for the total

  amount of $634,991.17, inclusive of its attorneys’ fees and costs of $175,587.90,

  plus accrued interest, with per diem interest of $180.77 accruing on $459,403.27 of

  the $634,991.17 judgment amount from April 1, 2014 up to the date Judgment is

  entered.




   1
       Attorneys fees and costs incurred through February 26, 2014.
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       The per diem interest does not include the attorneys’ fees and costs.

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                                 CONCLUSIONS OF LAW

               43.     To the extent that the foregoing findings of fact are more

  properly conclusions of law, they shall be treated as such, and to the extent that the

  following are more properly findings of fact, they shall be treated as such.

               44.     Ms. Evans’ Answer to Eastern’s First Amended Third-Party

  Complaint, deposition testimony, and guilty plea in the Criminal Case all establish

  Ms. Evans’ fraud and misrepresentation, designed to assist her friend, Ms. Ganitano,

  in obtaining the Loan for the Trust.

               45.     Ms. Evans’ guilty plea to felony mortgage fraud, in violation of

  18 U.S.C. § 1014, is admissible under Federal Rules of Evidence (“F.R.E.”) 803(22)

  and 807. See Rosen v. Neilson (In re Slatkin), 310 B.R. 740. 744–45 (C.D. Cal.

  2004), aff’d, Santa Barbara Capital Mgmt. v. Neilson (In re Slatkin), 525 F.3d 805

  (9th Cir. 2008).

               46.     Ms. Evans’ guilty plea establishes that she knowingly

  completed the Rental Agreement containing false representations (i.e., that

  Dorothy Evans was leasing the Property for $2,000 a month), and that she

  knowingly submitted the Rental Agreement to Eastern, intending that Eastern rely

  on it, in order to assist Ms. Ganitano.




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                47.     Ms. Evans’ admissions in the plea agreement that she submitted

  the Rental Agreement containing false representations to Eastern constitute direct

  evidence of fraudulent intent.3

                48.     Ms. Evans’ admissions during the course of her guilty plea

  hearing in the Criminal Case are trustworthy because, among other things:

                        a.     Ms. Evans’ plea was made under oath,

                        b.     Ms. Evans was represented by counsel, Ms. Dana S.
                               Ishibashi, during the plea hearing; and

                        c.     The judge during the plea hearing found Ms. Evans to
                               be “fully competent and capable of entering an informed
                               plea” and that Ms. Evans’ plea was “knowing and
                               voluntary.”

                49.      Because of her guilty plea in the Criminal Case, Ms. Evans is

  collaterally estopped from contesting her fraud against Eastern related to the Loan.

  See United States v. Real Property Located at Section 18, 976 F.2d 515, 518 (9th Cir.

  1992).

                50.      Ms. Evans’ Criminal Case involved a plea to a felony offense

  carrying potential penalties of up to 30 years imprisonment, a fine of up to one million

  dollars, a term of supervised release of up to five years, restitution, and a $100

  mandatory special assessment.



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    Ms. Evans’ admissions contained in her deposition testimony and Answer are probative of these
   issues as well.

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               51.     Ms. Evans pled guilty in the Criminal Case, thereby

  waiving her right to, and bypassing the need for, a trial.

               52.     The same fraudulent representation issues included in the

  Information in the Criminal Case are also contained in Eastern’s Third-Party Complaint.

               53.     Collateral estoppel is being asserted against Ms. Evans, the

  same person who pled guilty to mortgage fraud in the Criminal Case.

               54.     Even if Ms. Evans’ guilty plea was found to be inadmissible,

  Ms. Evans’ Answer to Eastern’s First Amended Third-Party Complaint and

  deposition testimony are sufficient to find Ms. Evans liable for fraud and

  misrepresentation as to Eastern.

               55.     Ms. Evans made multiple false representations to Eastern related

  to the Rental Agreement, Tenant Estoppel Certificate, Koga Memorandum, and

  Ganitano Memorandum.

               56.     Ms. Evans made these multiple false representations to Eastern

  with knowledge of their falsity, or without knowing their truth or falsity.

               57.     Ms. Evans made these multiple false representations with the

  knowledge Eastern would rely upon them.

               58.     Eastern detrimentally relied upon the false representations made

  by Ms. Evans when it entered into the Loan transaction.




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               59.     Eastern has established by clear and convincing evidence the

  elements for fraud committed by Ms. Evans. See Stanton v. Bank of Am., N.A., 834

  F. Supp. 2d 1061, 1085 (D. Haw. 2011).

               60.     Based on the foregoing, Eastern’s Motion for Summary

  Judgment is granted.

               61.     Judgment shall be entered against Sonia M. Evans in the total

  amount of $634,991.17 with per diem interest of $180.77 accruing on $459,403.27

  of the $634,991.17 judgment amount from April 1, 2014 up to the date Judgment is

  entered.

               62.     Eastern’s attorneys’ fees and costs of $175,587.90, which are

  included in the $634,991.17 judgment amount, are reasonable under the Lodestar

  calculation and the factors articulated in Kerr v. Screen Extras Guild, Inc., 526

  F.2d 67, 70 (9th Cir. 1975).




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                                  CONCLUSION

              Eastern’s motion for summary judgment against Sonia M. Evans is

  hereby GRANTED. The Clerk of Court is directed to enter judgment in favor of

  Eastern and against Sonia M. Evans.

              IT IS SO ORDERED.

              DATED: HONOLULU, HAWAI‘I, May 9, 2014.




  Koga v. Eastern Savings Bank; CV 11-00123 DKW/BMK; FINDINGS OF FACT
  AND CONCLUSIONS OF LAW GRANTING EASTERN SAVINGS BANK’S
  MOTION FOR SUMMARY JUDGMENT AGAINST SONIA M. EVANS



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